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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater    *     MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April   *
   20, 2010                                   *     SECTION J
                                              *
                                              *
This document relates to:                     *     Judge Barbier
                                              *
  All cases                                   *     Magistrate Judge Shushan
                                              *


                  THE BP PARTIES’ MEMORANDUM IN SUPPORT
              OF THEIR MOTION TO COMPEL AGAINST TRANSOCEAN


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                                        INTRODUCTION

       With expert deadlines looming and trial only months away, Transocean continues to

withhold key information necessary to fully investigate the causes of – and responsibility for –

the Deepwater Horizon incident. Transocean claims that hundreds of documents underlying its

public investigation are privileged, even where it fails to identify any attorney involved. It also

has refused to properly answer requests for admission concerning Transocean’s duties regarding

the Deepwater Horizon and Macondo well. For these reasons, BP America Production Company

and BP Exploration & Production Inc. (collectively, the “BP Parties”) move to compel

Transocean to provide these documents and answers.

       First, Transocean waived the work product privilege applying to its investigation

documents when it published its investigation report to the general public and the parties in this

litigation. Because the purpose of the work product privilege is to protect information from

litigation adversaries, courts have held that publicly disclosing the results of an investigation

waives any work product protection over related documents. Accordingly, this Court should

require Transocean to produce the documents on its privilege log related to its investigation

where the only asserted basis for privilege is work product.

       Moreover, for several hundred documents on its privilege log Transocean attributes

authorship solely to the “DWH Investigation Team” without a recipient and for hundreds more

lists no author or recipient at all. Failing to list individual authors and recipients in a privilege

log violates this Court’s orders as well as Federal Rule of Civil Procedure 26. Transocean has

not carried its burden of showing that these documents are privileged, and they should be

produced as well.

       Second, to understand Transocean’s contentions, narrow the disputed issues at trial, and

reduce the need for in-court evidence, the BP Parties served Transocean with requests for
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admissions on various topics. One category of requests sought to confirm Transocean’s duties

and responsibilities by asking Transocean to admit that, for example, it was “responsible for

detecting and preventing blowouts,” “required to use all reasonable means to control and prevent

fire and blowouts,” and was “responsible for taking all measures necessary or proper to protect

the Deepwater Horizon’s personnel and facilities.” Transocean has refused to properly answer

these requests, asserting that they ask for interpretation of the drilling contract between BP

America Production Company and Transocean Holdings LLC relating to the Deepwater Horizon

(the “Drilling Contract”) and so are pure questions of law. This argument fails because case law

holds that requests for admission concerning the interpretation of a contract are permissible, and

in fact Transocean’s own requests in the insurance actions expressly ask the BP Parties for their

interpretation of the Drilling Contract.

                                           BACKGROUND

       A.      The BP Parties’ Discovery Of Transocean.

       In accord with the Court’s discovery deadlines, the BP Parties served a first set of

document requests on Transocean on March 11, 2011 and a second set on April 29, 2011.

Transocean claimed the arbitration provision in the Drilling Contract precluded discovery and

objected to every single request, even though Transocean filed multiple complaints against the

BP Parties. On May 5, 2011, Transocean relied on the arbitration argument in filing a motion for

a protective order against the BP Parties’ written discovery. Dkt. No. 2261. This motion was

fully briefed and pending until June 21, 2011, when this Court denied it. Dkt. No. 2963.

       Because of Transocean’s tactics, the BP Parties were not able to effectively conduct

written discovery against Transocean until June 21, 2011. Since that time, the BP Parties have

diligently pursued discovery. Transocean served revised document request responses on July 1,

2011 and responses to the BP Parties’ interrogatories and requests-for-admission on July 15,

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2011.   At this late stage in the discovery schedule, Transocean also began producing the

substantial majority of its documents.         Since June 11, 2011, Transocean has produced

approximately 280,841 documents and 4,193,310 pages, approximately 80% of its total

document production.       In multiple letters, the BP Parties have followed up on various

deficiencies in Transocean’s privilege log, discovery responses, and document production to

resolve disagreements in good faith and avoid seeking relief from this Court.

        B.     Transocean’s Improper Claims Of Privilege Over Documents Related To Its
               Internal Investigation.

        On June 22, 2011, Transocean released to the general public1 and produced to all parties

in MDL No. 2179 its Transocean Investigation Report, “Macondo Well Incident” (the “Report”).

(Ex. A, Excerpts from Transocean Investigation Report, “Macondo Well Incident”) The Report

claims to be the culmination of Transocean’s investigation into the causes of the Macondo

blowout and contains several supposed “key findings.” (Id. at 10-11, 212-16)

        At the time Transocean released its Report, Transocean’s operative privilege log was its

sixth supplemental privilege log.2 This log identified a total of 1,155 withheld documents.

Several hundred of these documents appeared to be related to Transocean’s internal investigation

and were being withheld on the basis of work product protection only, with no indication that an

attorney was involved in preparing the document.           See id.   Moreover, approximately 676

document entries listed only the “DWH Investigation Team” as the author. See id.




1
    The Report has been posted on the internet               by   Transocean   and   is   available   at
    http://deepwater.com/fw/main/Public-Report-1076.html
2
    Although described as “supplemental,” Transocean’s sixth privilege log contained a list of all the
    documents over which it claimed privilege and superseded its previous logs. Similarly, Transocean’s
    seventh privilege log superseded its sixth one.


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       On July 6, 2011, the BP Parties wrote to Transocean explaining that the public release of

the Report waived any work product privilege applying to documents related to the investigation.

(Ex. G, 7/6/11 Letter from C. Heck to S. Roberts) The letter also noted that listing an author as

“DWH Investigation Team,” rather than the actual individual authors of the document, is

improper. This initial letter concluded by requesting a meet-and-confer. Transocean sent the BP

Parties correspondence on these privilege log issues on July 15 and July 20, to which the BP

Parties responded on July 15 and 21. (Ex. H, 7/15/11 Letter from C. Williams to C. Heck; Ex. I,

7/15/11 Letter from C. Heck to C. Williams; Ex. J, 7/20/11 Letter from C. Williams to C. Heck;

Ex. K, 7/21/11 Letter from C. Heck to C. Williams). Transocean’s July 20 letter advised BP that

it would produce a yet-to-be-determined number of contested documents from its prior privilege

logs, and revise its privilege log to reflect only “narrowly defined claims of work product where

appropriate.” (Ex. J) But this letter did not indicate when Transocean would provide this revised

privilege log, and so the BP Parties requested that the Court set an appropriate due date. On July

22, 2011, this Court ordered Transocean to serve a revised privilege log, and to produce the

documents removed from its sixth supplemental privilege log, by July 28, 2011. Dkt. No. 3457.

       Transocean served its seventh “supplemental” privilege log on July 28, 2011, which like

previous logs superseded its predecessors. (Ex. B, Transocean’s Seventh Supplemental Privilege

Log) This log identified a total of 2,544 withheld or redacted documents. Many of these entries

contain the same defects as those in the sixth privilege log.      Approximately 349 of these

documents, apparently generated during the course of Transocean’s internal investigation, were

still being withheld on the basis of work product protection only, with no indication that an

attorney was involved in preparing the document. See id. Approximately 636 documents listed

only the “DWH Investigation Team” as the author, while another 206 list no author at all. See



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id.   On August 8, 2011, the BP Parties sent a letter to Transocean explaining that these

documents could not be properly withheld, and requesting that they be produced. (Ex. L, 8/8/11

Letter from C. Heck to C. Williams)

        C.     Transocean’s Failure To Properly Answer Requests for Admission Related
               To Its Responsibilities.

        The BP Parties served Transocean with requests for admission (“RFAs”) on June 3, 2011.

Transocean served its responses to the BP Parties’ requests for admission on July 15, 2011. (Ex.

C, Excerpts from Transocean’s Response to BP Parties’ First Set of Requests for Admission)

For its responses to each of requests Nos. 45 through 67 and 282, Transocean did not directly

admit or deny the substance of the RFA, but rather referred to provisions of the Drilling

Contract, admitting only that the Drilling Contract contained language similar to that contained

in the requests. For example, in response to RFA 47 -- seeking an admission that “in drilling the

MC252 Well, the Transocean Deepwater Horizon Companies were responsible for detecting and

preventing blowouts,” Transocean responded by “admit[ting] that Article 15.2 of the Drilling

Contract states, in part: ‘Contractor shall maintain well control equipment in accordance with

good oilfield practices at all times and shall use all reasonable means to control and prevent fire

and blowouts ... ’” Transocean further qualified each response with the language: “Respondents

further state that they express no position regarding the interpretation of” the cited contract

provision, and that “such questions will be determined by [the] appropriate tribunal at an

appropriate time.” Transocean failed to admit, deny, or state that it lacks knowledge to be able to

admit or deny the substance of RFAs 45-67 and 282.

        In correspondence to Transocean on July 27, 2011, the BP Parties informed Transocean

that these responses did not comply with Federal Rule of Civil Procedure 36 because they merely

recited provisions of the Drilling Contract without actually admitting, denying, or stating that


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Transocean lacks sufficient knowledge to admit or deny each such RFA. (Ex. M, 7/27/11 Letter

from C. Heck to C. Williams).        Transocean responded in correspondence on August 10,

defending its refusal to admit or deny these RFA by asserting that “RFAs 45-67 and 282

improperly request the admission of a purely legal contention.” (Ex. N, 8/10/11 Letter from C.

Williams to C. Heck) The BP Parties responded to Transocean’s correspondence on August 11.

(Ex. O, 8/11/11 Letter from C. Heck to C. Williams) In that correspondence, the BP Parties

explained that these requests were entirely proper under FRCP 36 as RFAs concerning “the

application of law to fact,” and cited several decisions upholding the propriety of requests for

admission concerning contract interpretation. Id. at 2. Nevertheless, Transocean continued to

refuse to provide proper responses to those RFAs. (Ex. P, 8/19/11 Letter from C. Williams to C.

Heck)

                                         ARGUMENT

I.      TRANSOCEAN   IS  IMPROPERLY     SHIELDING                           NON-PRIVILEGED
        DOCUMENTS RELATED TO ITS INVESTIGATION.

        Transocean’s privilege log contains several hundred entries over which Transocean has

waived privilege. First, by publicly disclosing the Report on its investigation into the Deepwater

Horizon incident, Transocean waived work product protection over the documents relating to

that investigation. Second, for hundreds of entries Transocean lists the only author as “DWH

Investigation Team” or leaves the author blank and also does not list any recipients. Such entries

are improper as they do not allow the Court or other parties to evaluate whether a privilege

applies, and thus Transocean has failed to establish that these documents are privileged.

        A.     Transocean Has Waived The Work Product Privilege That Might Have
               Applied To Documents Related To Its Investigation.

        The work product doctrine exists to “promote the adversary system by safeguarding the

fruits of an attorney’s trial preparations from the discovery attempts of an opponent” and

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provides a “privileged area within which he can analyze and prepare his client’s case.” Shields v.

Sturm, Ruger & Co., 864 F.2d 379, 382 (5th Cir. 1989), United States v. Nobles, 422 U.S. 225,

238-239 (1975). As with other qualified privileges, the protection afforded work product is not

absolute and may be waived. Nobles, 422 U.S. at 239 (by eliciting the testimony of witness

investigator, counsel waived privilege with respect to matters covered by witness’s testimony);

Fox v. Taylor Diving & Salvage Co., 694 F.2d 1349, 1356 (5th Cir. 1983) (work product

immunity is lost by voluntary disclosure of the information by counsel to the court). Although

disclosing otherwise-protected work product to a third party does not automatically constitute a

waiver of that protection, disclosure which “substantially increase[s] the opportunities for

potential adversaries to obtain the information” does. 8 Charles Alan Wright & Arthur R. Miller,

FEDERAL PRACTICE AND PROCEDURE § 2024 (3d ed. 2010); Ecuadorian Plaintiffs v. Chevron

Corp., 619 F.3d 373, 378 (5th Cir. 2010) (counsel’s voluntary disclosure of work product to a

testifying expert waived immunity of that material from discovery).

               1.     Transocean’s Public Disclosure Of Its Report Waives The Work
                      Product Privilege Over Related Documents.

       Transocean’s selective public disclosure of its investigation’s findings and conclusions,

to both the general public and its adversaries in the MDL No. 2179 proceedings, has waived

work product protection for the documents related to its investigation. On June 22, 2011,

Transocean released the Report as the culmination of its internal investigation into the causes of

the Macondo well blowout. (Ex. A) The Report was not only disclosed to the general public, it

was produced to all parties in MDL No. 2179 including the BP Parties, Halliburton, Anadarko

and others who are adverse to Transocean in the pending litigation. Id. (produced at TRN-INV-

01747442 to TRN-INV-01748295).




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        Consistent with governing case law, the Federal Rules of Evidence, and the principles of

the work product doctrine, courts have held that when a party discloses a report which presents

the findings of an internal investigation, the underlying investigative materials lose work product

protection.3 E.g., Granite Partners, L.P. v. Bear, Stearns & Co., 184 F.R.D. 49 (S.D.N.Y. 1999)

(rejecting claims of work product protection and compelling disclosure of “notes of witness

interviews, valuations and analyses of securities owned by the Funds, and documents collected

from third parties” relating to a voluntarily disclosed report of an investigation conducted to

prepare for litigation); In re Leslie Fay Cos. Sec. Litig., 161 F.R.D. 274 (S.D.N.Y. 1995)

(rejecting work product protection for documents underlying and connected to report of

investigation into accounting irregularities where that report was provided to various government

agencies); In Re Royal Ahold N.V. Secs. & ERISA Litig., 230 F.R.D. 433 (D. Md. 2005) (same);

Ross v. Abercrombie & Fitch Co., Nos. 2:05-cv-0819, 2:05-cv-0848, 2:05-cv-0879, 2:05-cv-

0893, 2:05-cv-0913, 2:05-cv-0959, 2010 WL 419947 (S.D. Ohio Jan. 28, 2010) (requiring

disclosure of internal report regarding potential derivative action as well as underlying

documents); see also U.S. Airline Pilots Ass'n v. Pension Ben. Guar. Corp., 274 F.R.D. 28, 30-

33 (D.D.C. 2011) (by conducting an investigation into the allegations made by plaintiff, issuing

resulting report to plaintiff, and attaching it to a motion filed with the court, defendants waived

work product protection of the report and underlying materials); Lerman v. Turner, No. 10 C

2169, 2011 WL 62124, at *3 (N.D. Ill. 2011) (in employment discrimination lawsuit, by

releasing report of investigation that led to plaintiff’s termination, defendant waived work

product protection for the report’s underlying investigation documents sought by plaintiff). In



3
     To be clear, the BP Parties do not claim that Transocean waived the attorney-client privilege by
     publicly disclosing the Report of its investigation.


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accord with this authority, Transocean cannot use the work product doctrine to shield documents

related to its public investigation.

                2.      Transocean Should Not Be Allowed To Selectively Disclose The
                        Results Of Its Investigation.

        Transocean’s actions exemplify the reasons for applying waiver to the materials

underlying a publicly disclosed investigation report. The waiver rule prevents a party from using

work product protection to selectively disclose the favorable results of its investigation while

withholding the full evidence from its adversaries. See Fed. R. Evid. 502, Advisory Committee’s

note (subject matter waiver applies where fairness requires a further disclosure of related,

protected information, in order to prevent a selective and misleading presentation of evidence to

the disadvantage of the adversary); Lerman, 2011 WL 62124, at *9 (same); In re Kidder,

Peabody Secs. Litig., 168 F.R.D. 459, 469 (S.D.N.Y. 1996) (doctrine aims to prevent prejudice

and distortion of the judicial process that may be caused by the privilege-holder’s selective

disclosure during litigation of otherwise privileged information); Tribune v. Purcigliotti, No.

93CIV7222LAPTHK 1997 WL 10924, at *5 (S.D.N.Y. Jan. 10, 1997) (releasing only those

portions of information that are favorable to litigant’s position is an example of a selective and

misleading presentation of evidence).

        Such disfavored selective disclosure is apparent here, as the Report is almost wholly

favorable to Transocean.       None of the Report’s “key findings” places responsibility on

Transocean for any of the claimed causes of the blowout. (Ex. A at 212-16)

        Instead, Transocean’s Report attempts to blame BP and Halliburton for the incident. For

example, in the Report’s executive summary, Transocean asserts that “BP failed to properly

assess, manage, and communicate risk”; “BP also failed to assess the risk of the temporary

abandonment procedure used at Macondo”; and “Halliburton and BP did not adequately test the


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cement slurry and program … .” (Id. at 10) Indeed, even for the negative pressure tests

conducted by Transocean’s employees, who also were involved in interpreting the results,

Transocean’s Report purports to shift all blame to BP: “BP approved the negative pressure test

results and decided to move forward with temporary abandonment.” (Id. at 11) The rest of the

Report, including its “key findings,” expands on this theme of purporting to absolve Transocean

from responsibility while pointing the finger at BP and Halliburton.

        Moreover, the purported findings of Transocean’s Report have been used against BP in

this litigation.   The Report has been introduced in depositions as Exhibit 4248.        (Ex. A)

Attorneys for the Plaintiffs’ Steering Committee (“PSC”) have extensively questioned witnesses

from the Transocean investigation team to elicit testimony that Transocean’s investigation places

the blame on BP for the events leading to the incident. (E.g., Ex. D, B. Ambrose Dep. at 58:5-

129:9; 753:19-760:24) Indeed, PSC counsel relied on Transocean’s Report to ask questions

attempting to put the entire responsibility for the incident on BP. (Id. at 759:19-760:3, 760:16-

24)

        Therefore, both case law and fundamental fairness dictate that the BP Parties have access

to the documents underlying Transocean’s Report to confront the serious – and untrue –

allegations Transocean makes. Transocean cannot use its investigation as both a sword and a

shield to blame BP for the incident (both in public and in this litigation) while withholding the

work product that went into the investigation. See NXIVM Corp. v. O’Hara, 241 F.R.D. 109,

142 (N.D.N.Y. 2007) (party cannot selectively share work product and then expect the privilege

to remain as a shield); Westmoreland v. CBS, Inc., 97 F.R.D. 703, 706 (S.D.N.Y. 1983)

(defendant cannot hold out the findings and conclusions of its report to the public as

substantiating its accusations, but, when challenged, decline to reveal the report on the basis of



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its internal, confidential nature). Having chosen to publicly release the Report and allow its use

in litigation against BP, Transocean should be required to disclose the work product underlying

and related to the Report and its investigation.4

         Specifically, the BP Parties request that the Court order Transocean to produce all

documents on its privilege log (i) related to Transocean’s internal investigation, (ii) where the

only claim of privilege is work product, and (iii) whose description does not assert that they were

prepared at the direction of counsel. (This last condition is included because the BP Parties do

not seek documents that fall within FRCP 26(b)(3)(B).)                 The BP Parties have identified

approximately 349 entries on Transocean’s privilege log falling within these parameters,

including 48, 66-66b, 67, 71-75, 77, 79, 79a, 81, 90, 92, 96-101a, 107-108a, 115, 116, 119-122,

131-135, 139-142, 147, 148, 150, 154, 161, 165, 173-175, 192, 201, 215, 221-24, 226, 231, 234,

241, 243, 244, 319, 320, 327-329, 331-416, 419, 423-426, 445, 493-511, 523-525, 532, 537, 551,

552, 554-557, 576-578, 585-587, 589-591, 594, 598-613, 622, 623, 758-776, 796-817, 1040-

1042, 1044-1050, 1051, 1054, 1055, 1058-1062, 1069-1072, 1075, 1076, 1078, 1080, 1082,

1084-1092, 1096, 1099-1104, 1107-1112, 1114, 1126, 1128, 1136, 1137, 1139, 1140, 1143,

1144, 1146-1149, 1207, 1379, 1593, 1985, 1986, 1988-1990, 1992, 1994, 1995, 1997, 2172,

2183, 2231, 2233, 2236, 2237, 2300, 2490, 2491, 2578, 2585, 2586, 2625, 2732.



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     The facts of this case distinguish it from In re Vioxx Prods. Liab. Litig., No. MDL 1657, 2007 WL
     854251 (E.D. La. Mar. 6, 2007). The report in Vioxx was ancillary to the main issues in the Vioxx
     litigation. Specifically, the report dealt with whether Merck’s senior management acted appropriately
     in developing and marketing Vioxx, while the litigation concerned whether Vioxx was a defective
     product. Id. at *1. By contrast, here Transocean’s Report concerns the exact issues to be litigated,
     namely, the causes of and fault for the Deepwater Horizon incident. Moreover, the Vioxx report was
     not used offensively. Id. at *5. In this litigation, however, the PSC already has used Transocean’s
     investigation and Report offensively against BP. Notably, the Vioxx court stated that it would
     reconsider its order if the report had been used offensively, as the Transocean Report has here. Id.
     Finally, in Vioxx, Merck represented that it would not cite, rely upon, or use the report offensively in
     that litigation. Id. No such representation has been made by the parties opposing BP in this case.


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       B.      Transocean Has Not Established Any Privilege For Entries Assigning
               Authorship to the “DWH Investigation Team” Or Listing No Author At All.

       FRCP 26 requires that all documents that a party withholds on the basis of privilege be

described in such a manner that would enable other parties to assess the applicability of the

privilege. Fed. R. Civ. P. 26(b)(5)(A)(i)-(ii). PTO No. 14 further identifies what information is

to be included in the log, and specifically requires that all attorneys who are authors, signatories,

or recipients of withheld documents be identified. PTO No. 14 ¶ 3(e). As the party claiming

privilege, Transocean bears the burden of sufficiently describing the documents in a manner that

enables the Court, the BP Parties, and other litigants to assess its claims of privilege. Hodges,

Grant & Kaufmann v. United States Gov’t, Dept. of the Treasury, I.R.S., 768 F.2d 719, 721 (5th

Cir. 1985); Fed R. Civ. P. 26(b)(5)(A)(ii).

       Hundreds of entries on Transocean’s privilege log violate these plain rules. Specifically,

for approximately 636 entries, Transocean lists only the “DWH Investigation Team” as the

author. These entries do not identify any individual as the author, nor do they identify any

recipients. Moreover, for another approximately 206 entries, Transocean simply leaves the

author and recipient blank.

       Courts “scrutinize[] closely any privilege claim where a party is unable to identify the

author or has provided only a general group-wide description for the recipients.” Pacific Gas &

Electric Co. v. United States, 69 Fed. Cl. 784, 812 (Fed. Cl. 2006); SmithKline Beecham Corp. v.

Apotex Corp., 232 F.R.D. 467, 476 (E.D. Pa. 2005); see also Smithkline Beecham Corp. v.

Apotex Corp., 193 F.R.D. 530, 538-39 (N.D. Ill. 2000) (“General, group-wide descriptions such

as ‘management’ do not allow for the court to assess whether the recipients require, or have the

capacity to act upon, the information distributed.”). Such group descriptions prevent the parties

from determining the privilege claim’s validity and thus are insufficient to preserve a claim of


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privilege. As one court explained in requiring production of documents where only the company

name (Pacific Gas & Electric Company) was listed as the author, “plaintiff's statement that

‘[w]here other documents are a collaborative effort among or within PG & E departments, the

company itself may be noted as the author’ [], belies the notion that the court or defendant can

adequately ‘assess the applicability of the privilege or protection.’” Pacific Gas, 69 Fed. Cl. at

813. Therefore, privilege entries without individualized authors are regularly deemed invalid,

and the underlying documents ordered to be produced. E.g., Pacific Gas, 69 Fed. Cl. at 813;

SmithKline, 232 F.R.D. at 476; Smithkline, 193 F.R.D. at 539; Wilderness Soc’y v. United States

Dep’t of Interior, 344 F. Supp. 2d 1, 17 (D.D.C.2004) (denying privilege where “defendants fail

to identify the author ... and in some cases do not even identify the recipient”); Alexander v.

F.B.I., 192 F.R.D. 42, 45 (D.D.C. 2000) (finding privilege log insufficient where “for most of the

relevant documents, the log fails to identify the date prepared, the author or the recipient”).

       Under this established case law, Transocean should be required to produce all documents

for which the author is listed as “DWH Investigation Team” or left blank on the privilege log

entry. These entries cannot identify all attorneys who are authors or recipients of the documents

as required by PTO No. 14, because they do not identify any individuals at all. Likewise, by

failing to provide individual authors, Transocean’s privilege log prevents the BP Parties from

assessing whether the claimed privileges apply. The BP Parties cannot determine, for example,

whether an attorney was involved with a document when the author is listed only as “DWH

Investigation Team.”

       Therefore, the BP Parties request that the Court order Transocean to produce the several

hundred documents on its privilege log where the author is listed only as “DWH Investigation

Team,” including 122, 154, 161, 165, 192, 201, 215, 221-224, 226, 231, 234, 241, 243, 244, 319,



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320, 423, 425, 426, 445, 479, 480, 486, 487, 489, 492, 493, 495-511, 519, 523-527, 532, 537,

558-560, 562, 563, 565-568, 585-587, 589-591, 594, 615, 622, 623, 628, 629, 633-635, 637- 647,

653, 655-658, 660, 661, 663-678, 681, 682, 753-767, 769, 770, 772-776, 779-789, 796-817, 907-

913, 933, 934, 938, 939, 943-945, 947, 949, 972-979, 981, 985-987, 989-1021, 1024-1026, 1028-

1031, 1036-1039, 1041, 1042, 1091, 1092, 1192, 1205, 1211, 1229, 1231, 1274-1281, 1285,

1289, 1290, 1292, 1302, 1303, 1305, 1309, 1313-1315, 1319, 1325, 1326, 1330, 1347-1349,

1353, 1354, 1359, 1362, 1363, 1366, 1369, 1370, 1375-1378, 1380-1395, 1398, 1400-1409,

1418, 1433, 1435, 1463, 1464, 1470, 1473, 1474, 1494-1496, 1498, 1542, 1545, 1548, 1566-

1578, 1581-1587, 1589-1591, 1593-1595, 1597, 1601, 1602, 1613-1618, 1623-1625, 1627, 1628,

1646, 1655-1657, 1659, 1661-1670, 1673, 1674, 1676-1679, 1682, 1683, 1690-1703, 1710,

1714-1717, 1719, 1720-1741, 1764, 1769, 1771, 1773-1775, 1777-1783, 1786-1793, 1795-1798,

1801, 1802, 1809-1817, 1820, 1821, 1825, 1826, 1828-1841, 1845, 1847, 1853, 1856, 1859,

1860, 1867, 1868, 1878-1883, 1886-1889, 1891, 1892, 1896, 1897, 1899-1926, 1928, 1929,

1931-1933, 1936, 1947-1949, 1952-1954, 1962, 1966-1973, 1975, 1976, 1980-1990, 1992-1997,

2000, 2001, 2005-2015, 2020, 2022-2024, 2025-2042, 2046, 2047, 2102-2115, 2352, 2400,

2401, 2888, 2973. Similarly, documents for which Transocean has failed to identify any author

should also be produced, including those listed in entries 2117, 2120, 2122, 2137, 2138, 2149,

2150, 2152, 2154, 2156, 2158, 2161-2163, 2166, 2168, 2169, 2171, 2175, 2177, 2179, 2181,

2189-2191, 2193, 2195, 2197, 2199, 2201-2230, 2244, 2246, 2249, 2251, 2255, 2257, 2262,

2265, 2269, 2271, 2275, 2277, 2278, 2283, 2286, 2288, 2290, 2292, 2297, 2299, 2315, 2318-

2320, 2323, 2328, 2334, 2337, 2340, 2342, 2345, 2348, 2349, 2356, 2358, 2359, 2362, 2364,

2365, 2367, 2368, 2371, 2372, 2374, 2378, 2380, 2384, 2389, 2391, 2392, 2394, 2397, 2399,

2417, 2426, 2428, 2430, 2432, 2437, 2443, 2447, 2450, 2480, 2489, 2513, 2540, 2546, 2550,



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2551, 2558, 2559, 2561, 2562, 2565, 2571, 2575, 2606, 2609, 2623, 2624, 2648, 2655, 2656,

2661, 2674, 2685-2720, 2731, 2739-2741, 2745, 2750, 2761, 2763, 2779, 2785, 2788, 2789,

2793, 2794, 2798, 2800, 2806, 2809, 2811, 2813, 2939, 2944, 2946, 2957, 2964, 2970.

II.    THE BP PARTIES’ REQUESTS FOR ADMISSION 45-67 AND 282 SHOULD BE
       DEEMED ADMITTED BY TRANSOCEAN.

       Under Federal Rule of Civil Procedure 36, a party may serve requests to admit “the truth

of any matters within the scope of Rule 26(b)(1) relating to” “facts, the application of law to fact,

or opinions about either.” Fed. R. Civ. P. 36(a). A responding party must either admit the matter

or “specifically deny it or state in detail why the answering party cannot truthfully admit or deny

it.” Fed. R. Civ. P. 36(a)(4); see also Ameripride Servs, Inc. v. Valley Indus. Servs., Inc., No.

CIV 2:00-cv-0113-LKK-JFM, 2011 WL 1321873 at *2 (E.D. Cal. Apr. 1, 2011) (“Generally,

Rule 36(a) requires one of three answers: (1) an admission, (2) a denial; or (3) a statement

detailing why the answering party is unable to admit or deny the matter.” (citing Asea, Inc. v.

Southern Pac. Transp. Co., 669 F.2d 1242 (9th Cir. 1981))).

       The requesting party “may move to determine the sufficiency of an answer or objection”

and “[u]nless the court finds an objection justified, it must order that an answer be served.” Fed.

R. Civ. P. 36(a)(6). Moreover, “[o]n finding that an answer does not comply with this rule, the

court may order either that the matter is admitted or that an amended answer be served.” Id.; see

also Asea, 669 F.2d at 1245 (If “a response does not comply with the literal requirements of Rule

36(a), the district court may, in its discretion, deem the matter admitted”).

       Each of Transocean’s responses to the BP Parties’ RFAs 45-67 and 282 fails to state

whether Transocean admits, denies, or lacks knowledge sufficient to admit or deny the subject of

the request as required by FRCP 36(a). Instead, Transocean evades these RFAs by “admitting”

the contents of certain provisions of the Drilling Contract, and otherwise objects that they call for


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improper conclusions of law as matters of contractual interpretation that are not permitted under

FRCP 36.

        Transocean’s objections are not well taken as these RFAs seek the application of law to

fact, rather than pure legal conclusions.         Numerous federal courts have held that RFAs

concerning the interpretation of contractual provisions are precisely the sort of “application of

law to fact” expressly permitted by FRCP 36. E.g., Argus and Assocs., Inc. v. Prof’l Benefits

Servs., Inc., 2008 WL 5447738, at *3 (E.D. Mich. Dec. 31, 2008) (“Other examples of proper

requests for admission involving the application of law to fact are (1) a request for admission that

relates to the interpretation of a contract at issue in the case, . . . and (3) a request to admit what a

party’s obligations were under a contract.” (citations omitted)); Sigmund v. Starwood Urban

Retail VI, LLC, 236 F.R.D. 43, 46 (D.D.C. 2006) (“A request for admission that relates to the

interpretation of a contract at issue in a case involves the application of law to the unique facts of

that case and, therefore, would be permissible under the amended Rule 36”); Booth Oil Site

Admin. Grp. v. Safety-Kleen Corp., 194 F.R.D. 76, 80 (W.D.N.Y. 2000) (“[W]here the question

of the meaning of [a] document is at issue in the case, a request directed to another party seeking

an admission or denial of a document’s meaning or intent by that party as stated in the request

relates to a statement [of] fact, and is authorized by Rule 36 . . . . Nor are such requests

objectionable because the request may call for an admission as to an interpretation of a

contractual provision which could otherwise require a judicial determination.” (citations

omitted)); S.A. Healy Co./Lodigiani USA, Ltd. v. United States, 37 Fed. Cl. 204, 205 (1997)

(“Admissions of the contents or interpretation of a contract at most involve the application of law

to facts”).




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        Moreover, Transocean’s actions demonstrate that it believes requests for admission

concerning contract interpretation are proper. Transocean’s RFAs in the insurance actions –

specifically Transocean RFAs 3, 4, and 6 – expressly seek admissions about the interpretation of

the Drilling Contract:

•    3. Admit that the BP/Transocean Drilling Contract does not require Transocean to
     contractually indemnify BP for liability arising from environmental pollution originating
     underwater.

•    4. Admit that the BP/Transocean Drilling Contract required BP to contractually indemnify
     Transocean for environmental pollution originating underwater.

•    6. Admit that, pursuant to the terms of the BP/Transocean Drilling Contract, BP has agreed
     to indemnify Transocean for its gross negligence.

(Ex. E, Transocean’s First Requests for Admission to BP Defendants Regarding Insurance

Actions) Transocean also has questioned BP’s fact witnesses concerning the meaning of terms

and provisions of the Drilling Contract and its amendments. (Ex. F, D. Suttles Dep. at 797:10-

805:22)

        In light of this precedent and Transocean’s own discovery, Transocean’s contention that

matters of contractual interpretation are improper topics of request for admission is meritless.

Transocean’s citations of the Drilling Contract do not suffice as a proper response to the RFAs.

This Court should therefore deem RFAs 45-67 and 282 admitted, or in the alternative, direct

Transocean pursuant to FRCP 36(a)(6) to amend its responses to either admit, deny, or

specifically state why it cannot admit or deny each of these RFAs.

                                        CONCLUSION

        Transocean should not be allowed to improperly hide information regarding its

investigation and contentions. Therefore, the BP Parties request that this Court order Transocean

to (1) produce all documents on its privilege log related to its investigation and Report where the

only privilege asserted is work product and Transocean has not claimed that attorneys were

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involved; (2) produce all documents on its privilege log where Transocean has listed the author

as the “DWH Investigation Team” or has not identified an author; (3) be deemed to have

admitted the BP Parties’ RFAs 45-67 and 282, or in the alternative provide proper responses to

such RFAs.

Date: August 22, 2011                           Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 22nd day of August, 2011.


                                                   /s/ Don K. Haycraft
                                                   Don K. Haycraft
